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 3   Chief of Appeals
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 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,     )
10                                 )          Cr. S-07-0460-EJG
                     Plaintiff,    )
11                                 )
               v.                  )          STIPULATION AND
12                                 )                ORDER
     DAVID THAM, and               )
13   VINCENT DEVENECIA,            )
                                   )
14                   Defendants.   )
     ______________________________)
15
16        It is hereby stipulated between the following parties,
17   Plaintiff United States of America, by and through United States
18   Attorney McGregor W. Scott and Assistant United States Attorney
19   Phillip A. Talbert, Defendant David Tham, through his attorney Danny
20   Brace, and Defendant Vincent Devenecia, through his attorney Peter
21   Kmeto, as follows:
22        It is agreed that the current Status Conference date of April
23   4, 2008, be vacated and a new Status Conference date of May 2, 2008
24   at 10:00 a.m. be set.    The continuance of the status conference is
25   necessary because the defendants’ attorneys need additional time to
26   review the discovery with their clients and conduct related defense
27   investigation and to discuss possible resolution of the case with
28   government counsel.

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 1        Accordingly, the parties jointly request a new status
 2   conference date of May 2, 2008, and that the time period from April
 3   4, 2008, to and including May 2, 2008 be excluded under the Speedy
 4   Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4
 5   for defense preparation and based on a finding by the Court that the
 6   ends of justice served by granting a continuance outweigh the best
 7   interest of the public and defendant in a speedy trial.
 8
 9                                            Respectfully submitted,
10   Dated: April 3, 2008                    /s/Danny Brace
                                            DANNY BRACE, ESQ.
11                                          Attorney for Defendant
                                            DAVID THAM
12                                        By PAT per phone authorization
13   Dated: April 3, 2008                    /s/Peter Kmeto
                                            PETER KMETO, ESQ.
14                                          Attorney for Defendant
                                            VINCENT DEVENECIA
15                                        By PAT per phone authorization
16   Dated: April 3, 2008                     McGREGOR W. SCOTT
                                              United States Attorney
17
                                               /s/Phillip A. Talbert
18                                            PHILLIP A. TALBERT
                                              Assistant U.S. Attorney
19                                            Chief of Appeals
                                              Attorney for Plaintiff
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21
                                        ORDER
22
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the Status Conference
23
     currently scheduled for April 4, 2008 is continued to May 2, 2008,
24
     and the time under the Speedy Trial Act should be excluded from
25
     April 4, 2008 to May 2, 2008, under Local Code T4, Title 18, United
26
     States Code, Section 3161(h)(8)(B)(iv), for defense preparation and
27
     based on a finding by the Court that the ends of justice served by
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 1   granting a continuance outweigh the best interest of the public and
 2   each of the defendants in a speedy trial.
 3
     Dated: April 3, 2008
 4                                            /s/ Edward J. Garcia
                                              HON. EDWARD J. GARCIA
 5                                            United States District Judge
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